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8
                             IN THE UNITED STATES DISTRICT COURT
9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,           )                  2:11-CR-00296 WBS
                                         )
13
                             Plaintiff,  )                  STIPULATION AND
14                                       )                  ORDER TO ALLOW DEFENDANT
     v.                                  )                  TO TRAVEL TO MEXICO
15                                       )
                                         )
16
     SANDRA HERMOSILLO,                  )
17                                       )
                             Defendant.  )
18   ___________________________________ )
19

20                                             STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Brian Fogerty, and Defendant, Sandra Hermosillo, by and through her counsel, Erin J.
23
     Radekin, hereby stipulate that Ms. Hermosillo may, with the permission of her pretrial services
24

25   officer, and pursuant to such conditions as required by her pretrial services officer, travel to

26   Mexicali, Mexico at any time between August 30, 2017 and September 7, 2017 to visit her
27
     mother. Ms. Hermosillo’s father died earlier this year, and since this event her mother, who is
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 1   72, has been suffering from depression. Ms. Hermosillo desires to travel to Mexico to visit her
 2
     mother and provide support. Ms. Hermosillo has traveled to Mexico to visit family on eight
 3
     prior occasions while on pretrial release in this case, and there have been no reported violations
 4

 5
     of the court-imposed travel conditions.

 6          It is further stipulated that pretrial services shall return Ms. Hermosillo’s passport to her
 7   on the date of the filing of the proposed order to permit Ms. Hermosillo to travel to Mexico on or
 8
     after August 30, 2017. Ms. Hermosillo must return to the United States no later than September
 9
     7, 2017 and must check in with and surrender her passport to her pretrial services officer within
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11   24 hours of returning to the United States, but in no event later than September 8, 2017.

12          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
13
     IT IS SO STIPULATED.
14
     Dated: August 29, 2017                         PHILLIP A. TALBERT
15                                                  United States Attorney
16
                                           By:      /s/ Brian Fogerty
17                                                  BRIAN FOGERTY
                                                    Assistant United States Attorney
18

19

20   Dated: August 29, 2017                         /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
21                                                  Attorney for Defendant
22                                                  SANDRA HERMOSILLO

23
     IT IS SO ORDERED.
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25   The Clerk of the Court is directed to return the passport to U.S. Pretrial Services.

26   Dated: August 29, 2017
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                                               Stipulation and Order - 2
